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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                           April 22, 2016
                            canUNITED STATES DISTRICT COURT
                                                                                        David J. Bradley, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

ARGELIO PINA,                                     §
                                                  §
             Plaintiff,                           §
VS.                                               § CIVIL ACTION NO. 7:15-CV-221
                                                  §
ALLSTATE TEXAS LLOYDS,                            §
                                                  §
             Defendant.                           §

                                              ORDER

           The Court now considers the “Agreed Stipulation of Dismissal With Prejudice,”1 filed by
Plaintiff and Defendant announcing to the Court that the parties agree to Plaintiff dismissing his
suit against Defendant with prejudice. Pursuant to Federal Rule of Civil Procedure
41(a)(1)(A)(ii), Plaintiff and Defendant may dismiss an action without a court order by filing a
stipulation of dismissal signed by all parties. Since the stipulation of dismissal is signed by both
Plaintiff and Defendant, the only parties in the case, the parties have effectively dismissed the
case with prejudice and no further action by this Court is necessary. Thus, the Clerk of the Court
is instructed to close the case.
           IT IS SO ORDERED.
           DONE at McAllen, Texas, this 22nd day of April, 2016.


                                                  ___________________________________
                                                  Micaela Alvarez
                                                  United States District Judge




1
    Dkt. No. 12.

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